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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
Trenton Division

THOMAS MITTL and TOMS
RIVER AUTOMATIC DOOR &
WINDOW, on behalf of themselves
and all others similarly situated
Plaintiffs,
Vv.

LOWE’S HOME CENTERS, LLC,
Defendant.

 

 

CASE NO: 3:15-cv-06886-BRM-DEA

MEMORANDUM OF LAW IN
SUPPORT OF PLAINTIFFS’
MOTION FOR FINAL APPROVAL
OF CLASS ACTION
SETTLEMENT
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I. INTRODUCTION AND SUMMARY

Plaintiff Thomas Mittl (“Mittl”)! installed a variety of products, particularly
windows and doors, for Lowe’s Home Centers, LLC (“Lowe’s”) for over ten years.
After Mittl was terminated as a Lowe’s installer, he brought this class action
charging that Lowe’s misclassified him, and all other installers in the state of New
Jersey, as independent contractors rather than employees in violation of the
Construction Industry Independent Contractor Act (the “CHCA”), N.J.S.A. § 34:20-
1, et seq. The parties entered into a settlement agreement dated January 31, 2017
whereby in exchange for dismissal of all claims against Lowe’s for allegedly
misclassifying New Jersey installers, Lowe’s has agreed to pay the class $2.85
million.

There are 476 eligible members of the Class and the $2.85 million represents
almost $6,000 per installer. Given the attendant risks of litigation, and risks of
establishing damages, this represents a significant result. While Plaintiff asserted

that maximum recoverable damages were approximately $27 million, Lowe’s

 

' Plaintiff filed a First Amended Class Action Complaint on February 8, 2017 which
added Toms River Automatic Door & Window as an additional plaintiff. (Dkt. 55.)
The purpose is to effectuate a provision of the Settlement whereby Lowe’s agrees to
release all entities with which it contracted to perform installations from having to
reimburse Lowe’s for any payments made by Lowe’s to installers who were
allegedly misclassified by Lowe’s. (See Dkt. 54-1 at Appendix A (the “Settlement”),
at 2.)

* Members of the Class include those individuals whose installation company
signed an installer agreement with Lowe’s. (/d. at {5(a).)

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countered that maximum damages were only $5 million. Thus, a recovery which
represents a range of more than 10% to greater than 50% of recoverable damages is
a strong recovery.

There is an “overriding public interest in settling class action litigation.” Jn re
Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d. Cir. 2004). See also, In re
General Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768,
784 (3d Cir. 1995) (“The law favors settlement, particularly in class actions and
other complex cases where substantial judicial resources can be conserved by
avoiding formal litigation.”); In re Insurance Brokerage Antitrust Litig., 297 F.R.D.
136, 144 (D.N.J. 2013) (“[S]ettlement of litigation is especially favored by courts in
the class action setting.’’).

As we discuss here, the $2.85 million Settlement represents an excellent
outcome for the Class, and Mittl and his counsel respectfully submit that the
settlement is fair, reasonable, and adequate and should be approved by this Court.

Notices were mailed to 476 individuals and installation companies who
comprise the Class. (Declaration of Jeffrey C. Block, submitted herewith, (“Block
Decl.”) at {16.) To date, not a single class member objects to the settlement and only
one class member has opted out demonstrating the strong support the settlement has
received from the Class. Ud. at {§19-20.) Accordingly, we respectfully submit that

the Settlement be approved.
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Il. THE SETTLEMENT AND THE NOTICE PROGRAM

The Settlement provides for a maximum settlement amount of $2,850,000
(“Maximum Settlement Amount”), inclusive of certain fees and expenses,’ to be
distributed, as set forth in the Settlement Agreement, to the Settlement Class
Members. (Settlement at 4 6(a).) Before agreeing to the settlement, Plaintiffs
determined that if this action proceeded to trial and they prevailed on all of his
claims, the maximum amount recoverable for the class if they prevailed at trial on
all claims would have been approximately $27 million. Defendant disputed this
amount and contended that maximum recoverable damages, if a class were certified,
were closer to $5 million. Plaintiffs submits that a gross recovery of up to $2.85
million — or approximately $6,000 per installer — is an eminently fair and reasonable
recovery on these claims under the circumstances.

The $2,850,000 “Maximum Settlement Amount,” less certain expenses and
fees, will be paid out by the Claims Administrator to the individual installers who
submit a valid and timely claim form.* To receive a share of the settlement, an
individual settlement class member must declare under penalty of perjury:

(i) that he or she executed a contract during the Class Period to perform

installation work for Defendant in New Jersey and/or had an ownership
interest in an installation company that performed installation services for

 

3 Plaintiffs are concurrently submitting their motion for attorneys’ fees and
expenses, and an incentive award for Plaintiff Mittl.

* The deadline for submission of a timely claim form is June 5, 2017. (Block Decl.
at 716.)
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Defendant in New Jersey pursuant to such a contract; (ii) the identity of any
other individual(s) at the installation company who either executed a contract
during the Class Period to perform installation work for Defendant in New
Jersey and/or had an ownership interest in an installation company that
performed installation services for Defendant in New Jersey pursuant to such
a contract (if any such individual is identified, then the Claims Administrator
will promptly send a Notice Package to the individual at the installation
company address); (iii) the name of the installation company through which
installation work was performed for Defendant in New Jersey; (iv) his or her
social security number or tax identification number; and (v) that he or she has
not previously settled or released, or received awards for, the claims covered
by this settlement.

(Settlement at 77(b)(3).)

If the Court awards the requested amount of attorneys’ fees, expenses and the
incentive award, the maximum settlement proceeds available for distribution to the
class would be approximately $1.9 million. Thus, if every installer submitted a valid
claim form, each would receive approximately $4,000.

At this time, approximately 76 installation companies and their principals
have submitted valid and timely claim forms. (Block Decl. at 418.) Thus, pursuant
to the terms of the Agreement, Lowe’s will distribute 50% of the Potential Gross
Individual Settlement Proceeds.°

Additionally, the standard form contracts entered into between Lowe’s and

the installation companies provides that Lowe’s can seek indemnification from the

 

> At this time, less than 50% of the settlement class members have submitted valid
and timely claim forms. Thus, Lowe’s will retain the remaining 50% of the
Potential Gross Individual Settlement Proceeds, pursuant to the terms of the
Settlement. (Settlement at §8(e).)

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installation companies if Lowe’s is required to pay installers as Lowe’s employees.
Lowe’s has agreed to provide a class-wide release of this provision so that no
installation company is at risk of having to repay Lowe’s the very benefits secured
in this settlement. The First Amended Class Action Complaint was filed to include
Toms River, the entity through which Mittl performed his installations for Lowe’s,
to effectuate this relief. (See Dkt. 55; Settlement at {]2, 17(b).)

UI. PROCEDURAL HISTORY

Mittl filed his class action complaint on August 3, 2015 in the Superior Court
of New Jersey, Ocean County. (Block Decl. at § 4.) On September 16, 2015, Lowe’s
removed the action asserting that this Court has jurisdiction under the Employee
Retirement Income Security Act (“ERISA”) and/or the Class Action Fairness Act
(“CAFA”). Ud. at §5.) The Parties subsequently engaged in extensive discovery,
including the propounding of multiple sets of interrogatories and document requests,
as well as depositions of Mittl, other installers and Lowe’s employees. (/d. at 12.)

On May 13, 2016, Mittl moved for class certification, seeking to certify a class
consisting of:

All those who signed a contract with Lowe’s Home Centers, Inc. to perform
installations for Lowe’s in the State of New Jersey.

(Ud. at 6.)
While the Motion for Class Certification was pending, the Parties agreed to

hold a settlement conference before the Honorable Douglas E. Arpert, U.S.M.J. Ud.
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at 47.) The Parties provided briefs to Judge Arpert on the merits of the case and on
damages. (/d. at {97-8.) Though the initial settlement conference did not result in a
settlement, the Parties continued to negotiate in good faith thereafter. On November
3, 2016, the Parties reached a Settlement in principle to settle this action on the terms
set forth herein. (/d. at §8.) This Court granted preliminary approval of the settlement
and notice plan on March 7, 2017. (Dkt. 56.) After duly notifying the Settlement
Class Members, Plaintiffs now seek final approval of the settlement and respectfully

submit that approval is warranted.

IV. THE SETTLEMENT AGREEMENT WARRANTS FINAL
APPROVAL UNDER RULE 23 AND THE CASE LAW IN THE
THIRD CIRCUIT AND THE DISTRICT OF NEW JERSEY

a. Legal Standard

At Final Approval, “to approve a class settlement agreement, a district court
must [1] determine that the requirements for class certification under Federal Rule
of Civil Procedure 23(a) and (b) are met and [2] must determine that the settlement
is fair to the class under Federal Rule of Civil Procedure 23(e).” In re Ins. Brokerage
Antitrust Litig., 579 F.3d 241, 257 (3d Cir. 2009). “The decision of whether to
approve a proposed settlement of a class action is left to the sound discretion of the
district court.” Jn re Prudential Ins. Co. Am. Sales Practice Litigation Agent Actions,

148 F.3d 283, 299 (3d Cir. 1998) (citation omitted).
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b. The Settlement Class Satisfies the Rule 23(a) Standards

Plaintiff Mitt] now requests this Court finally certify the following class (the
“Settlement Class”), which was preliminarily certified by this Court’s Preliminary
Approval Order:

All installation companies that, at any time during the Class Period, performed

installation services in the State of New Jersey for Defendant pursuant to a

written contract, and all individuals who had an ownership interest in such

installation companies during the Class Period and/or signed any of the
installation contracts with Defendant on behalf of such installation companies.

The Settlement Class easily meets the standards for final certification. “The
requirements of [Rule 23] (a) and (b) are designed to ensure that a proposed class
has sufficient unity so that absent class members can fairly be bound by decisions of
class representatives.” Jn re Ins. Brokerage, 579 F.3d at 257 (internal quotations
omitted). Under Rule 23(a), the prerequisites to class certification are:

(1) the class is so numerous that joinder of all members is impracticable; (2)

there are questions of law or fact common to the class; (3) the claims or

defenses of the representative parties are typical of the claims or defenses of
the class; and (4) the representative parties will fairly and adequately protect
the interests of the class.
Id. If all the requirements of Rule 23(a) are satisfied, the parties seeking certification
must then satisfy at least one of the separate provisions of Rule 23(b). In re Warfarin
Sodium Antitrust Litig., 391 F.3d at 527. When faced with a request for certification

of a settlement class, “the concern for manageability that is a central tenet in the

certification of a litigation class is removed from the equation.” Sullivan v. DB Invs.,
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Inc., 667 F.3d 273, 302 (3d Cir. 2011); see also, In re Ins. Brokerage, 579 F.3d at
257 (“Confronted with a request for settlement-only certification, a district court
need not inquire whether the case, if tried, would present intractable management
problems, for the proposal is that there be no trial.”) (citations omitted).

i. Class Members are so Numerous that Joinder is Impracticable

“(G]enerally if the named plaintiff demonstrates that the potential number of
plaintiffs exceeds 40, the first prong of Rule 23(a) has been met.” Stewart v.
Abraham, 275 F.3d 220, 226-227 (3d Cir. 2001). The Settlement Class is comprised
of 476 installation companies and their principals. Thus, the numerosity requirement
is easily met.

ii. There Are Questions of Law and Fact Common to the Class
Members

Plaintiff respectfully submits that there are questions of law and fact common
to Settlement Class. As the Third Circuit explained in Reyes v. Netdeposit, LLC, 802
F.3d 469, 486 (3d Cir. 2015):

Commonality is a consideration of whether there are questions of law or fact
common to the class. Commonality is satisfied where there are classwide
answers....Commonality does not require perfect identity of questions of law
or fact among all class members. Rather, even a single common question will
do. A putative class satisfies Rule 23(a)’s commonality requirement if the
named plaintiffs share at least one question of fact or law with the grievances
of the prospective class. A court’s focus must be on whether the defendant’s
conduct is common as to all of the class members. Again, the bar is not a high
one.

See also, Inre Warfarin, 391 F.3d at 527-528; In re Ins. Brokerage, 579 F.3d at 264.

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Plaintiff respectfully submits that the commonality requirement is satisfied
here. The principal common question is whether Lowe’s misclassified installers as
independent contractors rather than as employees in contravention of New Jersey
law. Moreover, additional common questions exist, including whether the installer
contracts — including the provisions restricting scope of work — afford Lowe’s the
ability to control the performance of installations, whether installations are
performed outside the usual course of Lowe’s business, and whether Lowe’s has
been unjustly enriched by shifting the costs of employment onto the installers and
installation companies. These questions are resolved with common proof, including
that class members signed substantially similar, uniform, “take it or leave it”
contracts with Lowe’s, and that all class members were classified as independent
contractors rather than as employees. Thus, as Lowe’s conduct is common to all
class members, the Settlement Class satisfies the commonality requirement. Reyes,
802 F.3d at 486.

iii. The Claims and Defenses of the Class Representative Are
Typical of the Claims and Defenses of the Class

Rule 23(a) requires that “the claims...of the representative parties [be] typical
of the claims...of the class.” The typicality inquiry requires the plaintiff to show: (1)
that his claims “arise from the same event or practice or course of conduct and [are]
based on the same legal theory as the claims of the class”; (2) that his claims are not

“subject to a defense that is both inapplicable to many members of the class and [is]

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likely to become a major focus of the litigation”; and (3) that “the interests of the
class and class representative[] are aligned so that the latter will work to benefit the
entire class through the pursuit of [his] own goals.” Dartell v. Tibet Pharms., Inc.,
No 14-3260, 2016 WL 718150, *4 (D.N.J. Feb. 22, 2016) (internal citations and
quotations omitted). “If the claims of the named plaintiffs and putative class
members involve the same conduct by the defendant, typicality is established
regardless of factual differences.” Newton v. Merrill Lynch, Pierce, Fenner & Smith,
Inc., 259 F.3d 154, 183-84 (3d Cir. 2001) (citation omitted).

Here, “the claims of the representative plaintiff[] arise from the same alleged
wrongful conduct on the part of’ Defendant and “from the same general legal
theories.” Jn re Warfarin, 391 F.3d at 532. The operative documents, the contracts,
and standards, are substantially identical across the Settlement Class. Moreover,
Plaintiff submits that, like Plaintiff, Lowe’s conduct harmed all Settlement Class
Members — namely, its uniform policy of improperly classifying all Type 1 and
General Contractor installers as independent contractors rather than as employees.
The misclassification of the individual installers harmed both the individual
installers and the installation companies. Thus, Plaintiff's interests are aligned with
those of all Settlement Class Members. Finally, Plaintiff is not subject to any unique

defenses that are likely to become a major focus of the litigation. Accordingly, all

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Settlement Class Member’s damages arise out of the same wrongful course of
conduct and Plaintiff's claims are typical of those of the Settlement Class.

iv. The Class Representative Will Fairly and Adequately Represent
the Interests of the Class

In determining whether the class representative “fairly and adequately protect
the interests of the class,” courts examine “the interests and incentives of the class
representatives, and the experience and performance of class counsel.” In re Cmty.
Bank of N. Va. Mortg. Lending Practices Litig., 795 F.3d 380, 392 (3d Cir. 2015)
(citations omitted). Thus, the adequacy prong of Rule 23(a) is satisfied when “the
attorneys representing the named plaintiffs are clearly well qualified and
experienced class actions attorneys, and the interests of the named plaintiffs are not
antagonistic to those of the absent class members.” Jn re Ins. Brokerage, 579 F.3d
at 258 (internal quotations omitted). “[T]he linchpin of the adequacy requirement is
the alignment of interests and incentives between the representative plaintiffs and
the rest of the class.” In re Cmty. Bank, 795 F.3d at 393. Plaintiff submits that there
are no conflicts between Plaintiff and other members of the Settlement Class.
Lowe’s conduct is alleged to have injured Mittl and all other members of the
Settlement Class in the same manner. Further, Plaintiff has retained highly capable
and experienced counsel with experience litigating class action lawsuits, including
employment class actions alleging independent contractor misclassification against

Lowe’s. Plaintiffs counsel has vigorously litigated this case, including in

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negotiating this Settlement. Accordingly, the requirements of Rule 23(a)(4) are
satisfied.

c. The Settlement Class Satisfies Rule 23(b)(3)

Rule 23(b)(3) requires “’the court [to] find[] that the questions of law or fact
common to class members predominate over any questions affecting only individual
members, and that a class action is superior to other available methods for fairly and
efficiently adjudicating the controversy.’” Jn re Ins. Brokerage, 579 F.3d at 257
(quoting Fed. R. Civ. P. 23(b)(3)). This case easily shows both.

i. Predominance

Under Fed. R. Civ. P. 23(b)(3), the predominance requirement is met if “the
court finds that the questions of law or fact common to the members of the class
predominate over any questions affecting only individual members, and that a class
action is superior to other available methods for the fair and efficient adjudication of
the controversy.” The Rule 23(b)(3) predominance inquiry “tests whether proposed
classes are sufficiently cohesive to warrant adjudication by representation.” Reyes,
802 F.3d at 489. As the Third Circuit has explained: “Rule 23 does not require the
absence of all variations in a defendant’s conduct or the elimination of all individual
circumstances. Rather, predominance is satisfied if common issues predominate.
The focus of Rule 23(b)(3) is on the predominance of common questions. A district

court analyzes predominance in the context of Plaintiffs’ actual claims.” Jd.

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Here, Plaintiff submits that common questions of law and fact predominate
over individual issues. The Settlement Class consists of 476 installation companies
and their principals who were subject to uniform conduct by Lowe’s — namely,
misclassification of installers as independent contractors. At trial, the evidence
adduced to prove misclassification of all installers would have been common to the
class and consists of inter alia: the Installer Contracts and Installer Guides which
afford Lowe’s the ability to exercise some control over the completion of
installations; Lowe’s ability to dictate the timing of installations, job site conduct,
and marketing Lowe’s services; use of customer survey scores and job site
inspections as a means of controlling installers’ conduct; and, evidence that
installations were performed within the usual course of Lowe’s business. Moreover,
other courts have found that the common legal question of whether Lowe’s
misclassified installers as independent contractors rather than as employees is
susceptible to common proof. D’Italia v. Lowe’s Home Centers, Inc., No.
SUCV110475BLS1, 2012 WL 12528092, *8 (Mass. Supp. Ct. Dec. 5, 2012);
Shephard v. Lowe’s HIW, Inc., No. C 12-3893, 2013 WL 4488802, *9 (N.D. Cal.,
Aug. 19, 2013). Thus, the Settlement Class is sufficiently cohesive to meet the

predominance requirement.

ii. Superiority

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Plaintiff also submits that the Settlement Class meets the superiority
requirement set out in Rule 23(b)(3), which provides that certification is appropriate
if class treatment “is superior to other available methods for the fair and efficient
adjudication of the controversy.” The Court must consider four factors in making
this determination: (1) the interest of members of the class in individually controlling
the prosecution of separate actions; (2) the extent and nature of any litigation
concerning the controversy already commenced by members of the class; (3) the
desirability of concentrating the litigation in a particular forum; and (4) the
difficulties likely to be encountered in the management of a class action. Fed. R. Civ.
P. 23(b)(3).°

In Plaintiff's view, the class action mechanism is clearly superior to other
methods of adjudicating this matter. Members of the class do not have an interest in
individual prosecution because individual claims here are modest while individual
actions would be both expensive and time-consuming. Smith v. Prof: Billing &
Memt. Servs., Inc., No. 06-4453, 2007 WL 4191749, *4 (D.N.J. Nov. 21, 2007)
(“Since the claims of the individual class members are relatively modest, and there
is no alternative to litigating the claims, class certification is a superior method of

adjudication rather than other available choices.”). The Parties have engaged in

 

° Because the parties have reached a settlement, no manageability issues will arise.
Sullivan, 667 F.3d at 306.

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extensive discovery and motion practice, the cost of which would be prohibitive for
most class members. Moreover, all class members have the same legal claim and no
other litigation has commenced. And, as all installers and installation companies
work for Lowe’s in New Jersey, it is highly desirable to concentrate this litigation in
this forum. Accordingly, Plaintiff respectfully submits that the Settlement Class
satisfies the requirements of Rule 23(b)(3) and requests that the Court certify it for
purposes of the Settlement.

d. The Notice Procedures Carried Out Satisfy Due Process
Requirements

Rule 23(e)(1) requires that notice be directed “in a reasonable manner to all
class members who would be bound by the proposal.” Class members are entitled to
the “best notice that is practicable under the circumstances.” Fed. R. Civ. P.
23(c)(2)(b). The notice must contain the following information, in clear and plain
English: (1) the nature of the action; (2) the definition of the settlement class; (3) the
claims, issues, or defenses; (4) that a class member may appear in the action through
an attorney; (5) that the court will exclude people who request exclusion and explains
when and how to do so; and, (6) the binding effect of judgment on class members.
Id. Notice must be the “best notice practicable under the circumstances, including
individual notice to all members who can be identified through reasonable effort.”

Amchem Prods. v. Windsor, 521 U.S. 591, 617 (1997) (citation omitted).

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The Court-approved notice which was provided to 476 class members,
satisfies all due process requirements. (Block Decl. at 416.) Only 39, or 8%, were
undeliverable with no updated address information. (/d. at §17.) The notice was
reasonably calculated to provide actual notice to Class Members of the Settlement
and the final approval hearing. (Dkt 54-1 at Exhibit A.) It described the nature of the
action and the claims, issues, and defenses relevant in the action. It also explained
the definition of the class and each class member’s legal rights and options in the
settlement. Moreover, the notice detailed the terms of the settlement and the releases
underlying the Agreement. The notice also described, in detail, the processes for
requesting to be excluded from the settlement and for objecting to the Settlement.
(Id.)

Finally, the notice explained the claims process, which was simple and
straightforward. It explained that, to ask for a payment, a class member need only
complete and submit the included claim form by June 5, 2017. The notice also
provided a phone number to call for help with completing the claim form. Class
members were given an opportunity to cure a defective claim form and one reminder
notice was mailed to each class member to remind them of the relevant deadline for
submitting a claim. (Block Decl. at §16.) In sum, the notice and claims process were

eminently fair and reasonable.

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e. The Settlement is Fair, Reasonable, and Adequate and should be
Approved

i. A Presumption of Fairness Applies

A presumption of fairness applies where, as here, “a settlement has been
negotiated at arm’s length, discovery is sufficient, the settlkement proponents are
experienced in similar matters and there are few objectors.” Jn re Insurance
Brokerage, 297 F.R.D. at 144 (citing In re Wafarin., 391 F.3d at 535). Here, the
Parties negotiated this Settlement with the help of the Court. Specifically, while the
Motion for Class Certification was pending, the Parties agreed to hold a settlement
conference before the Honorable Douglas E. Arpert, U.S.M.J.’ (Block Decl. at § 7.)
The Parties provided briefs to Judge Arpert on the merits of the case and on damages
and participated in a settlement conference on October 6, 2016. Ud.) While the
Parties did not ultimately agree to the Settlement until after that conference, it was
instrumental to the Parties in their subsequent negotiations and in the ultimate

resolution of this action. As explained herein, the Parties had the benefit of

 

7 See Bredbenner v. Liberty Travel, Inc., No. 09-905, 2011 WL 1344745, *10
(D.N.J. April 8, 2011) (approving class action settlement in wage-and-hour
litigation where “the Court directly oversaw the negotiations” and noting that
“(participation of an independent mediator in settlement negotiations virtually
insures that the negotiations were conducted at arm’s length and without collusion
between the parties”) (internal quotations and citations omitted); Milliron v. T-
Mobile USA, Inc., No 09-8149, 2009 WL 3345762, *5 (D.N.J. Sept. 14, 2009)
(finding a presumption of fairness where a federal judge participated in settlement
negotiations).

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substantial discovery when negotiating this Settlement, and all counsel are highly
experienced in employment and class action litigation. Moreover, no objection to
the Settlement has been made to date. Accordingly, this Court should presume that
the Settlement is fair.

ii. The Settlement Satisfies Each of the Girsh Factors

To determine whether a class action settlement should be approved as “fair,
adequate, and reasonable” under Rule 23(e), courts in the Third Circuit apply a nine-
factor test set out in Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975). See, e.g., In
re Ins., 297 F.R.D. at 144 (identifying the Girsh factors). The Girsh factors include:
(1) the complexity, expense, and likely duration of the litigation; (2) the reaction of
the class to the settlement; (3) the stage of the proceedings and the amount of
discovery completed; (4) the risks of establishing liability; (5) the risks of
establishing damages; (6) the risks of maintain the class action through the trial; (7)
the ability of the defendants to withstand a greater judgment; (8) the range of
reasonableness of the settlement fund in light of the best possible recovery; and (9)
the range of reasonableness of the settlement fund to a possible recovery in light of
all the attendant risks of litigation. Girsh, 521 F.2d at 156-57; In re Ins. Brokerage,
297 F.R.D. at 144. As demonstrated herein, evaluation of the Girsh factors

demonstrates that the $2,850,000 settlement represents an excellent resolution of this

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matter settlement that is overwhelmingly fair, reasonable, and adequate, thus
warranting final approval.

1. Complexity, Expense, and Likely Duration of the
Litigation

The first Girsh factor “captures the probable costs, in both time and money,
of continued litigation.” In re Cendant Corp. Litig., 264 F.3d 201, 233 (3d Cir. 2001)
(citation and internal quotations omitted). It is easily satisfied where, as here,
“continuing litigation through trial would [require] additional discovery, extensive
pretrial motions addressing complex factual and legal questions, and ultimately a
complicated, lengthy trial.” Jn re Warfarin, 391 F.3d at 536.

There is no doubt that the claims alleged by the Settlement Class involve
complex legal and factual issues. If the action were to proceed, Plaintiff would first
have to succeed on his motion for class certification. Assuming Plaintiff was
successful on that motion, the issue of class certification would likely remain hotly
contested throughout the pendency of the litigation, with Lowe’s possibly moving
to decertify the class. Plaintiff also anticipates that Lowe’s would move for summary
judgment. Thus, if the action were to proceed, Plaintiff would have to win class
certification and likely would have to defeat motions to decertify the class and for
summary judgment. Even assuming Plaintiff was successful as to these motions,
there is no guarantee that Plaintiff would obtain a favorable outcome at trial as

Lowe’s has vehemently denied Plaintiffs allegations, asserted numerous defenses,

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and contemplates a different theory on damages which, if correct, would result in a
much smaller recovery than Plaintiff proposed. The Parties also anticipated
additional discovery, including of experts and absent class members.

Furthermore, as this action has been vigorously litigated by both parties, it is
likely that the result of any trial would be appealed, thus further delaying any
possible payment to the class members. In deciding whether to enter the Settlement,
Plaintiff considered the range of these legal and factual issues and believed that the
balance favored resolving the case at this stage. Accordingly, Plaintiff respectfully
submits that the Settlement is fair and reasonable as it guarantees an immediate,
meaningful recovery for the Settlement Class, protects the interests of individual
installers and installation companies, and obviates the need for additional lengthy,
complex, and uncertain litigation against Lowe’s. See Hall v. AT&T Mobility, No.
07-5325, 2010 WL 4053547, at *7 (D.N.J. Oct. 13, 2010) “Importantly, of course,
settlement also provides the Class with immediate, definite relief.”). The first Girsh
factor thus weighs in favor of approval.

2. Reaction of the Class to the Settlement

The second Girsh factor examines “whether members of the class support the
settlement.” Jn re Prudential, 148 F.3d at 318. A lack of significant objections by
class members is “tacit consent” to the settlement. Bell Atl. Corp. v. Bolger, 2 F.3d

1304, 1313, n.15 (3d Cir. 1993); see also, In re Ins. Brokerage, 297 F.R.D. at 145

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(concluding that the “dearth of objections by Class Members to the Settlement
weighs in favor of approval”).

Plaintiff submits that, to date, the response of the class members has been
highly favorable. After a robust notice program, roughly 16% of class members have
submitted timely and valid claim forms. (Block Decl. at § 18.) Per the terms of the
Settlement, Class Members can submit claim forms until June 5, 2017. Ud. at ¥] 16.)

Moreover, the absence of any objections to the adequacy of the settlement
demonstrates that the terms of the agreement are fair and favorable to the Class. Jn
re Ins. Brokerage, 297 F.R.D. at 145 (approving settlement where no objections
were filed); Jn re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 305 (3d Cir. 2005) (noting

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that “such a low level of objection is a ‘rare phenomenon’”). To date, no class
member has objected. (Block Decl. at { 20.) Similarly, only one class member has
opted out of the Settlement. (/d. at ¢ 19.) Accordingly, this factor supports a finding
of fairness and entry of final approval.

3. The Settlement was Reached at an Appropriate Stage of

the Litigation in View of the Amount of Discovery
Completed

The “stage of proceedings” factor focuses on whether “counsel adequately
appreciated the merits of the case before negotiating” the settlement. In re Warfarin,

391 F.3d at 537 (citations omitted); see also, In re Cendant, 264 F.3d at 235. This

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factor “evaluate[s] the degree of case development that Class Counsel have
accomplished prior to settlement.” Jn re Ins. Brokerage, 297 F.R.D. at 145.

Plaintiff conducted a thorough investigation of the facts through extensive
discovery. The Parties engaged in discovery, exchanged interrogatories and
document requests, and held numerous meet and confer conferences to attempt to
resolve discovery disputes. The Parties produced and reviewed thousands of pages
of documents in response to those requests. Moreover, the Parties took 14
depositions. Plaintiff and Lowe’s anticipated engaging in expert discovery, and
Lowe’s indicated it would pursue absent class member discovery before any trial.
The Parties also engaged in a settlement conference before Judge Arpert. Hence,
Class Counsel had a “thorough appreciation” of the merits of the case prior to
agreeing to the Settlement. Jd.

4. Risks of Establishing Liability Support Approval of the
Settlement

The “risk of establishing liability” factor “examine[s] what the potential
rewards (or downside) of litigation might have been had class counsel elected to
litigate the claims rather than settle them.” Jn re General Motors, 55 F.3d at 814. As
Courts have explained, “[t]he inquiry requires a balancing of the likelihood of
success if the case were taken to trial against the benefits of immediate settlement.”

In re Ins. Brokerage, 297 F.R.D. at 146 (quoting In re Safety Components, Inc. Sec.

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Litig., 166 F.Supp.2d 72, 89 (D.N.J. 2001) (quoting In re Prudential, 148 F.3d at
319)).

As discussed, this was a hotly disputed case and would have been throughout.
To prevail, Plaintiff would have to establish that installers were free from Lowe’s
control and direction and that installations were within Lowe’s usual course of
business. Lowe’s vigorously contested that it misclassified installers. It argued that
each installer was free to accept or decline specific jobs from Lowe’s without
consequence; each installer made their own determinations as to how to install the
particular product; each installer decided when to perform the installation based on
that installer’s particular schedule. In short, Lowe’s claimed each installer was free
from its control and direction and would have called numerous installers as witnesses
who, presumably, would have testified that way. Lowe’s further argued that
installations were not conducted within Lowe’s usual course of business as the
installation sites were not Lowe’s stores and that Lowe’s is a retailer and not a
construction company. Establishing liability on behalf of Plaintiff and the Class was
fraught with risk and with no guarantee of success. Given this uncertainty and the
risk of establishing liability at trial, this factor weighs in favor of final approval.

5. Risks of Establishing Damages Support Approval of the
Settlement

As explained by the Third Circuit, this factor “attempts to measure the

expected value of litigating the action rather than settling it at the current time.” In

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re Cendant, 264 F.3d at 238-9 (quoting In re General Motors, 55 F.3d at 816). This
case presents a novel question, as no case brought under the CIICA has conclusively
established the scope of recoverable damages. Thus, Plaintiff anticipated a costly
battle of experts, as the Parties disagree over the scope and calculation of recoverable
damages. While Plaintiffs valued the case at approximately $27 million if they
prevailed on their claims and the jury applied their damages theory, Defendants
asserted that the Class would be able to recover a maximum of only $5 million.
Accordingly, as there are significant risks in establishing damages, the fifth Girsh
factor weighs in favor of approval.

6. Risk of Maintaining a Class Through Trial

As the Third Circuit has explained, “this factor measures the likelihood of
obtaining and keeping a class certification if the action were to proceed to trial.” Jn
re Warfarin, 391 F.3d at 537. “In any class action, unforeseen developments
affecting class certification can occur in the course of final pretrial preparation and
trial.” Lazy Oil, Co. v. Witco Corp., 95 F.Supp.2d 290, 338 (W.D. Pa. 1997).
Although class certification is appropriate in this case, the Court has not yet certified
a litigation class, and there is no certainty that it would ultimately do so. Moreover,
even if it does, “[t]here will always be a ‘risk’ or possibility of decertification, and
consequently the court can always claim this factor weighs in favor of settlement.”

In re Prudential, 148 F.3d at 321; see also, Inre Ins. Brokerage, 297 F.R.D. at 146

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(approving the settlement where “Plaintiffs acknowledge[d] that Defendants
[would] ‘undoubtedly’ contest class certification on various grounds”). As noted
herein, if the Court granted a motion for class certification, Plaintiff is confident that
Lowe’s would seek to decertify any certified class. The Settlement avoids these
risks, and thus the sixth Girsh factor weighs in favor of approval.

7. Ability of the Defendant to Withstand Greater Judgment

The seventh Girsh factor — the ability of the defendants to withstand a greater
judgment — is generally overlooked by courts, especially considering the real risk
that Plaintiff could receive nothing if the case proceeded to trial. See, e.g., Bradburn
Parent Teacher Store, Inc. v. 3M, 513 F.Supp.2d 322, 332 (E.D. Pa. 2007) (holding
that ability to pay a higher amount “did not carry much weight” in determining the
fairness of the settlement). Indeed, “many settlements have been approved where a
settling defendant has had the ability to pay greater amounts.” Jn re Remeron End-
Payor Antitrust Litig., Nos. Civ. 02-2007, 2005 WL 2230314, at *23 (D. N.J. Sept.
13, 2005); see also, In re Ins. Brokerage, 297 F.R.D. at 146-147 (same). This Court
should accordingly give little weight to the seventh Girsh factor. Sullivan, 667 F.3d
at 323 (“At bottom, we agree that, ‘in any class action against a large corporation,
the defendant entity is likely to be able to withstand a more substantial judgment,
and, against the weight of the remaining factors, this fact alone does not undermine

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the reasonableness of the instant settlement.’”) (citation omitted).

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8. The Range of Reasonableness of the Settlement Fund in
Light of the Best Possible Recovery and All the
Attendant Risks of Litigation Supports Approval of the
Settlement

The eighth and ninth Girsh factors — evaluated in tandem — focus on “whether
the settlement represents a good value for a weak case or a poor value for a strong
case.” In re Warfarin, 391 F.3d at 538. These factors “test two sides of the same
coin: reasonableness in light of the best possible recovery and reasonableness in light
of the risks the parties would face if the case went to trial.” Jd. (citing Jn re
Prudential, 148 F.3d at 322). As courts have explained, “[t]he fact that a proposed
settlement may only amount to a fraction of the potential recovery does not, in and
of itself, mean that the proposed settlement is grossly inadequate and should be
disapproved. The percentage recovery, rather must represent a material percentage
recovery to plaintiff in light of all the risks considered under Girsh.” In re Cendant,
109 F. Supp. 2d at 263 (internal quotations and citations omitted); In re Ins.
Brokerage, 297 F.R.D. at 147 (same). See also, In re Aetna Inc. Sec. Litig., MDL
1219, 2001 WL 20928, *6 (E.D. Pa. Jan. 4, 2001) (“While the court is obligated to
ensure that the proposed settlement is in the best interest of the class members by
reference to the best possible outcome, it must also recognize that settlement
typically represents a compromise and not hold counsel to an impossible standard.”).

Plaintiff respectfully submits that the $2,850,000 Settlement represents a

“significant and immediate monetary” benefit for the Settlement Class that

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“outweigh[s] the risks and uncertainties that Plaintiffs will face at trial.” Jn re Ins.
Brokerage, 297 F.R.D. at 147. Plaintiff submits that the Settlement represents
between 10 and 50 percent of maximum recoverable damages.® Plaintiff and the
Class face the substantial risk if the case proceeds toward a trial, including class
certification, decertification, summary judgment, trial and the jury’s calculation of
damages. Thus, taking into account all of the attendant benefits and risks, Plaintiff
respectfully submits that the settlement represents a “material percentage” and rests
comfortably within the range of reasonableness, and therefore the eighth and ninth
Girsh factors support approval.

V. CONCLUSION

For the reasons set forth herein, the Settlement is fair, reasonable and adequate

and warrants final approval.

 

8 As discussed herein, Plaintiffs believe that maximum recoverable damages are
$27 million, while Lowe’s asserted that maximum recoverable damages are $5
million.

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